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UNITED STATES BANKRUPTCY COURT

District of Delaware

In re: Promise Healthcare Group, LLC

Case No. 18-12491

TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
Transferee hereby gives evidence and notice pursuant to Rule 3001(e) (1), Fed. R. Bankr. P., of the

transfer, other than for security, of the claim referenced in this evidence and notice.

TRC MASTER FUND LLC
Name of Transferee

Name and Address where notices to transferee
should be sent:

TRC MASTER FUND LLC
Attn: Terrel Ross

PO Box 633

Woodmere, NY 11598

Phone: 516-255-1801
Last four digits of Acct#: -N/A

Name and address where transferee payments
should be sent (if different from above):

Phone: N/A
Last four digits of Acct#: N/A

Certified Nursing Registry, Inc.
Name of Transferor

 

Court Claim # (if known): N/A
Schedule #_ 998669

Amount of Claim: USD$528.20
Date Claim Filed: N/A

Phone: (949) 680-6332
Last four digits of Acct.#: N/A

Name and Current Address of Transferor:

Certified Nursing Registry, Inc.
2707 E. Valley Blvd

Suite 309

West Ciovina, CA 91792

I declare under penalty of perjury that the information provided in this notice is true and correct to the

best of my knowledge and belief.

By: /s/Terrel Ross
Transferee/Transferee’s Agent

Date: September 4", 2019

Penalty for making a false statement: Fine up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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EVIDENCE OF TRANSFER OF CLAIM
Exhibit A to Assignment of Claim

TO: United States Bankruptcy Court (“Bankruptcy Court”)
District of Delaware
Attention: Clerk

AND TO: Promise Hospital of East Los Angeles, L.P.
Case No. 18-12501 (the “Debtor’)
(Jointly administered under Promise Healthcare Group, LLC, Case No. 18-1249)

Claim #N/A

Certified Nursing Registry, Inc., its successors and assigns (“Assignor’), for good and valuable consideration, the receipt
and sufficiency of which are hereby acknowledged, does hereby unconditionally and irrevocably sell, transfer and assign
unto:

TRC MASTER FUND LLC
PO Box 633

Woodmere, NY 11598
Attention: Terrel Ross

its successors and assigns ("Assignee"), all of Assignor’s rights, title, interest, claims and causes of action in and to, or
arising under or in connection with its Claim in the amount of USD$528.20 (‘Claim’), as listed in the Debtor's Schedule F
against the Debtor in the Bankruptcy Court, or any other court with jurisdiction over the bankruptcy proceedings of the
Debtor.

Assignor hereby waives any objection to the transfer of the Claim to Assignee on the books and records of the Debtor and
the Bankruptcy Court, and hereby waives to the fullest extent permitted by law any notice or right to a hearing as may be
prescribed by rule 3001 of the federal Rules of Bankruptcy procedure, the Bankruptcy code, applicable local bankruptcy
rules or applicable law. Assignor acknowledges and understands, and hereby stipulates, that an order of the Bankruptcy
Court may be entered without further notice to Assignor transferring the Claim and recognizing the Assignee as the sole
owners and holders of the Claim.

Assignor further directs each Debtor, the Bankruptcy Court and all other interested parties that all further notices relating to

the Claim, and all payments or distributions of money or property in respect of the Claim, shall be delivered or made to the
Assignee.

IN WITNESS WHEREOF, THIS EVIDENCE OF TRANSFER OF CLAIM IS EXECUTED THIS nk DAY OF
amber | 2020.

age . 3 ee
ASSIGNOR: Certified Nursing-Registry, Inc. EE
/ ZZ

 

 

 

 

(Signature) () (Signature)
CRisTNA SY Terrel Ross
(Print Name) ‘ (Print Name)

Pres heuf Managing Member

(Title) (Title)

 
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Schedule # 998669

Creditor Information -

   

 

 

 
 

 

 

 

Creditor Debtor Name Claim Number
CERTIFIED NURSING REGISTRY INC. Promise Ho n/a
270 LLEY BLVD Date Filed Schedule Number
néa 998669
Claim Amounts
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Claim Nature Schedule Amount C*U*D* Asserted Claim Amount C*U*F* : Claim Status
Claim Value
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Priority
Secured
503(b\9) Admin Priority
Admin Priority
Total $528.20 $528.20
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